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    COUNTERCLAIM EXHIBIT D

            Case No. 2:21-cv-0811 TSZ
                                                 Case 2:21-cv-00811-TSZ Document 72-4 Filed 11/21/22 Page 2 of 2
Swifty (AimJ unkies)
Friday,September21,2018              8:23AM




Identification
Real Name James May

Aliases          Swifty, Swlfty
                 jjmay899
                 Sycore, syO::oAE

Username         james
Computer         DESKTOP-14RNIQL

Location         Dayton, Ohio
Address          (tied via email via
                 https:(/ www.usphonebook.com/jame s-
                 may/U UzMzYT04czN l g jN3g jM zETN3 Mz R)


                 2217 Polo Park Dr
                 Dayton, OH
                 45439-3268
DOB

Emails           james.q3abc@gmail.com (verified)




Tags


Activities
         Reverse Engineering
         Cheat Engine
         IDA
         Cheat Development


Media Profiles
     • htt ps:(/myspace .co m/swift love sna ppy

Profile Images
         site
         [img]


Recent IPs
         67.219.146.74
         67.219.146.72
         174.97.110.18
         67.219.146.77


Active Accounts
Account ID                        Tag                         Ban Reason                 Email                               Notes




Banned Accounts
Account ID                        Tag                         Ban Reason                 Email                               Notes

4611686018498316514               Sw lfty                                                james.q3abc@gmail.com




Device IDs
--   AAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAA BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB CCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCC DDDDDDDDDDDDDDDOODDDDDDDDDDDDDDD                                            EEEE EE EEE EEE EE EE EE EEEE EEE EEE EEE E
02   C8B F42M65A84ABE9 FFB7 2 5F09880AFD 2 ECCABCCCA7 3BADC8 EF 3C7 F7D01 F2528 383 343 ED06E7418890591C0 3DA07D9B2 5 5F8B2 5CDA0711E9B 5 E26045CB9A545B                            F8CC98CB77 2E FD79BAA71915E9A0F976
02   C8B F42M65A84ABE9 FFB7 2 5F09880AFD E4C75AEE914F37B1C 13AA3A2E01C3DC7 383 343 ED06E7418890591C0 3DA07D9B2 5 5F8B2 5CDA0711E9B 5 E26045CB9A545B                                 F8CC98CB77 2E FD79BAA71915E9A0F976
02   C8B F42M65A84ABE9 FFB7 2 5F09880AFD F7FD31D1MAC7B 121805 F3 F8E4F471 FF 383 343 ED06E7418890591C0 3DA07D9B2 5 5F8B2 5CDA0711E9B 5 E26045CB9A545B                               F8CC98CB77 2E FD79BAA71915E9A0F976
02   C8B F42M65A84ABE9 FFB7 2 5F09880AFD 6B5 F7C 138EEA11 E9AAE7806E6 F6 E696 3 383 343 ED06E7418890591C0 3DA07D9B2 5 5F8B2 5CDA0711E9B 5 E26045CB9A545B                            F8CC98CB77 2E FD79BAA71915E9A0F976



Tickets
         TT Machines: 8A83A649CDD44D, 77BBOF03802519
     •   htt p://t ickett rack[Ticket[Ti cke t .as p x? db-Tiger&i d- 11866344 4 (ove r lay)


Notes
Sho w s additional proofSw ifty and James are tied:
         htt ps ://steam i dfi nd e r .co m/Ioo k u p/7 65 61 198003 342 345/


Running reclasskernel64.sys
         C:\Users\ja mes\Desktop\ReClass. NET -Kerne I Pl ugi n-master\bin\ReClassKernel 64.pdb
         Signed by"Phoenix Digital Group LLC" w hich is associated w ith AimJunkies


COD cheat development tied via email:
         htt ps://fo rum .m ombot cheat s.co m/archive / i nde x.php?t -2 15 .ht ml &    cf ch i jschl t k   =af 5d6 79a cc3 85 20ed a5 138516664 48 5 0c5 279d9e-161463 712 7-0-
         Ac lZ1WhW75M 3 SN h w G7 EB3Kd jhFc jliv9 Cw a eBi R5R dOc l t3 sg7ANU 9X Yyh 7 Kb nPu Pd 6Cf etoZot KJuFM Gw xxq DbFbd 54ImOm 4 j8P rxf MEvn lpW x xl QLDrYE rlMH csqDmcSICSIQaw lDt zEOnf siBPo V ENAsw U KUhT pF lO ss blFFlzF gl rH Es Hd pN kR2 kF le lbZaCi a GOAA -eHt lOS sLJ lslus -
         FsulbUv5WjXbg l mb H34d ia jEuH82d 95iG5D6ozW lffv FQ-OncGJxepV70cH53u7Bbepuu ROOG Lrn4Je-u Hxl1BcfJeEHqXNEUpNN2TW2mRrvYJ80 ex2 A


         Above post references this youtube channel (w hich appears to belong to associate or alternate persona "berisko" w hich also posted in the above thread):
            o    htt ps:(/www .y o ut u be .co m/user /b erisko0 1/vi d eo s
            o    Video description referencestoAimJunkies




                                                       Dossiers Pagel



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